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UNITED STA”i`ES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
______________________________________________________ X
Ramla Bibi, Case No.: 18-47178-nhl
' Chapter 7
Debtor
______________________________________________________ X
OBJECTION T() DEBTOR’S MOTION FOR iLOSS MITIGATION
NOW COMJES, Nationstar Mortgage LLC d/b/a Mr. Cooper as servicer for U.S. Bank
National Association, as Trustee for Structured Adjustable Rate Mortgage Loan Trust, Mortgage
Pass-Through Certificates, Series 2005-19XS (hereinaftcr “Secured Creditor”) by and through its
attorneys, Prenkel Lambert Weiss Weisman & Gordon LLP, and in support of its Objection to
Debtor’s Motion for Loss Mitigation, states as follows:
l_ On or about December 13, 2018 the Debtor filed a petition under Chapter
7 of the Bankruptcy Coole.
2. Secured Creditor is a creditor of the Debtor pursuant to a Note and Moitgage
executed by the Debtor on July 26, 2005 to secure payment of the principal sum of $524,160.00
on property located at 246 68 87th Avenue, Bellerose, NY 11426 ('hereina&er the “Real
Property”).
3. On January 12, 2019 the Debtor filed a Statement of Intention Which indicated
an intent to surrender the Real Property.
4. On January 15, 2019, Secured Creditor filed a Motion for Relief from Stay
With respect to the Real Pi'operty.

5. On April 2, 2019, Debtor filed a Request to enter into the Loss Mitigation

Program in connection With the Real Property.

 

 

 

 

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6. The underlying loan is with a Mortgage Backed Securities investor which has its
own restrictions governing any modifications to be made to its loans. These restrictions
include, but are not limited to, the inability to extend the final maturity date of` the loan.

7. Based on information provided by Secured Creditor, the loan is due f`or the

April 1, 2008 payment; the loan is 11 years delinquent. The loan originated on July 26,
2005 and the original principal balance was $524,160.00. The approximate total owed
now on the loan is now $810,112.14 after the arrears are capitalized The arrears totai
approximately $263,857.32.

8. The only home retention modification program available on this loan is a
streamline modification review similar to a Fannie Mae FLEX modification review. At
the time the Debtor made their request for loss mitigation Secured Creditor had the loan
reviewed for this program. For a loan to be approved f`or a modification under this
program there has to be a reduction in the monthly payment Here, the review ultimately
resulted in a denial because the monthly payment could not be reduced due to the severe
delinquency of the loan.

9. After capitalizing the arrears the new unpaid principal balance is 5 810,1 12.14.
Of` the $8] 0,1 12. 14 owed on the loan there was a non-interest bearing balloon payment
created in the amount of $243,033.64 that would have to be paid at the end of` the ioan
or upon sale. The resulting interest bearing principal balance would be $567,078.50. In
calculating the new monthly payment, the interest rate was reduced to 4.375% from
6.250%. There is no maturity date extension allowed on this loan. The new unpaid
principal balance was amortized out at 4.37’5% over the remaining 230 month term of

the loan which results in a monthly Pi payment of $3,646.34 and a total PITI payment

 

 

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of $4,650.13.

10. 'l`he monthly PI payment at the time of default was $l,948.28. The modified
monthly PI payment was increased to $3,646.34, which was the reason for the denial.

ll. According to Debtor’s Schedule I the total household income is $250.00.
Even if the modification was approved, the Debtor does not have to income to support a
mortgage payment.

12. In light of the above Secured Creditor requests that the Request for Loss

7 Mitigation be denied

13. As set forth in General Order #582 which contains the Loss Mitigation
Program Procedures for the Bankruptcy Court for the EDNY, “The Loss Mitigation
Program is designed to function as a forum in individual bankruptcy cases for debtors
and lenders to reach consensual resolution whenever a debtor’s residential property is at
risk of foreclosure.” Secured Creditor does not consent to being Ordered into loss
mitigation In this case, Debtor’s request for loss mitigation should be denied after
considering the totality of circumstances and lack of affordable modification options for
this Debtor.

Dated: April 16, 2019
Bay Shore, New York

 

 

Elizabeth L. Doyaga, Esq.
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Bay Shore, New York 11706
(631) 969-3100
01-035501-}300

 

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

iN RE: X CASE NO.: 18-47178-nhl
Rainla Bibi CHAPTER 7
Debtor(s). Judge: Nancy I-Iershey Lord
STATE OF NEW YORK) X

) ss.:
COUNTY OF SUFFOLK )

Jessica Spiegelman, being duly sworn, deposes and says: deponent is not a party to the action. Is
over 18 years of age and resides in the County of Suffolk, New York.

On April 16, 2019 deponent served the within Objection to Loss Mitigation upon the following
parties in the manner specified for each party below

Name and Address of Partv
Ramla Bibi

246-68 87th Avenue
Bellerose, NY 11426

Method of Service
U.S. Postal Service

Ehsanul I-Iabib, Esq. U.S. Postal Service
Attorney for the Debtor

Law Office of Ehsanu1 Habib
118~21 Queens Blvd. Suite 603

Forest Hills, NY 11375

Debra Kramer

Trustee

98 Cutter Mill Road, Suite 466 South
Great Neck, NY 1 1021

U.S. Postal Service

Justin Slade Krell

Silverman Acampora

100 Jericho Quadrangle, Suite 300
Jericho, NY 1 1753

U.S. Postal Service

 

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day of il , 201?.

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Comm_ission Exp_ires Ma_y 25 , 20 ._ f

 
 
     
    

  

  

 

 

